          Case 1:15-cr-00095-WFK                   Document 535                 Filed 07/27/22               Page 1 of 7 PageID #: 5026
AO 2458 (Rev. 10/13/2021) Judgment in a Criminal Case
                       Sheet I



                                         UNITED STATES DISTRICT COURT
                                                          Eastc~m District of New York
                                                                            )
               UNITED STATES OF AMERICA                                     )         JUDGMENT IN A CRIMINAL CASE
                                 V.                                         )
                          Akmal Zakirov                                     )
                                                                            )         Case Number: 1 :15CR00095(S-3)-005 (WFK)
                                                                            )         USM Number: 85928-053
                                                                            )
                                                                            )          Joshua L. Dratel, Esq; Marion Seltzer, Esq.
                                                                            )         Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)          One (1) and Two (2) olfthe Third Supserdlng Indictment
0 pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                               Offense Ended
18 U.S.C. § 2339B(a)(1)          Conspiracy to Provide Material Support to a Foreign Terrorist Organization      2/28/2015           1s
18 U.S .C. § 2339B(a)(1)         Attempt to Provide Material s,upport to a Foreign Terrorist Organization        2/28/2015           2s



       The defendant is sentenced as provided in pages 2 tlllrough                7          of this judgment. The sentence is imposed pursuant t,o
the Sentencing Refonn Act of 1984.
0 The defendant has been found not guilty on c_ount(s)
~ Count(s)       all open counts                         D is      Ill are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the Uni1ted States attorney for this district within 30 days ofany chan_ge of name, residence,
or mailing address until all fines, restitution, costs, and speci1al assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defen<lant must notify the court and United States attomey of material changes in economic circumstances.



          .!
                                                                          "'"'"~""'~~ ;y -                   s/WFK

                                                                                            William F. Kuntz, II - U.S. District Judge
                                                                          Name and Title of Judge



                                                                          Date
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AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

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 DEFENDANT: Akmal Zakirov
 CASE NUMBER: 1: 15CR00095(S-3)-005 (WFK)

                                                          IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
 TIME SERVED.




       D The court makes the following recommendations to the Bureau of Prisons:




       D The defendant is remanded to the custody of the United States Marshal.

       D The defendant shall surrender to the United States Marshal for this district:
           D at
                    - - - - - - - - - D a.m.                 D p.m.       on
           D as notified by the United States Marshal.

       D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                        to

 at
      - - - - - - - - - - - - - - - , with a certified copy of this judgment.

                                                                                                 UNITED STATES MARSHAL


                                                                         By-----------------------
                                                                                              DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                       Judgment-Page     3     of        7
DEFENDANT: Akmal Zakirov
CASE NUMBER: 1:15CR00095(S-3)-005 (WFK)
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 Two (2) year(s).




                                                    MANDATORY CONDITIONS
I.   You must not commit another federal, state or loc.al crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              Ill The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check ifapplicable)
4.    D You must make restitution in accordance with 18 U.S.C. §§ 3663.and 3663A or any other statute authorizing a sentence of
          restitution. (check ifapplicable)
5.    liJ You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.    D You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
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DEFENDANT: Akmal Zakirov
CASE NUMBER: 1:15CR00095(S-3)-005 (WFK)

                                       STANDARD CONDITIONS. OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities),.you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
      aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines based on your criminal record, personal history and characteristics, and the nature and
      circumstances of your offense, you pose a risk to another person (including an organization), the probation officer, with prior
      approval of the Court, may require you to notify the person about the risk and you must comply with that instruction. The probation
      officer may contact the person and confirm that you have notified the person about the risk ..
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
                                                                                                                ------------
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                       Sheet 30 - Supervised Release
                                                                                             Judgment-Page   5   of _ _7
                                                                                                                       __
  DEFENDANT: Akmal Zakirov
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                                         SPECIAL CONDITIONS OF SUPERVISION
 (1) The defendant shall cooperate with and abide by all instructions of immigration authorities.

 (2) If deported/excluded, the defendant may not re-enter the United States illegally.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment- Page       6    of        7
DEFENDANT: Akmal Zakirov
CASE NUMBER: 1: 15CR00095(S-3)-005 (WFK)
                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                Restitution                                   AVAA Assessment*            JVTA Assessment**
TOTALS            $    200.00                $                       $                     $                           $



 D The determination of restitution is deferred until - - - - -. An Amended Judgment in a Criminal Case {AO 245C) will be
      entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otheiwise in
      the prioricy or?er or perc~ntage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the Umted States 1s paid.

 Name of Payee                                                   Total Loss***             Restitution Ordered         Priority or Percentage




                                         I




TOTALS                               $                            0.00        $
                                                                                  - - - - - - - -0.00
                                                                                                  --

 D     Restitution amount ordered pursuant to plea agreement $
                                                                          ----------
 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       D the interest requirement is waived for the              D fine   D restitution.
       D the interest requirement for the            D    fine    D restitution is modified as follows:

* Amy, VickyVand Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for ictims of Trafficking Act of2015, Pub. L. No. 114-22.
*** Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                         Sheet 6 -   Schedule of Payments
                                                                                                            Judgment -   Page   _7...____ of     7
 DEFENDANT: Akmal Zakirov
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                                                             SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability ~o pay, payment of the total criminal monetary penalties is due as follows:

 A     lit!    Lump sum payment of$ -=2=0'--=0'-'-.0~0'----- due immediately, balance due

               D     not later than                                   , or
               •     in accordance with      • C,       D D,      D E,or        D Fbelow; or
 B    D Payment to begin immediately (may be combined with                    D C,    D D, or     D F below); or
 C     D Payment in equal             _ _ _ _ _ (e.g., we~kly, monthly, quarterly) installments of $ _ _ _ over a period of
                              (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal       _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
              _ _ _ _ _ (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

 E    •        Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    liZ]     Special instructions regarding the payment of criminal monetary penalties:
                Payment shall be made payable to the Clerk of Court.




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                  Joint and Several                 Corresponding Payee,
      (including defendant number)                             Total Amount                  Amount                           if appropriate




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments sh_all be a_pplied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(SJ fine P.rincipal, (OJ fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost of
prosecution and court costs.
